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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          8:03CR137-2
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )          MEMORANDUM
                                              )          AND ORDER
RYAN HAYNES,                                  )
                                              )
                     Defendant.               )

       This case has been reassigned from Judge Shanahan to Judge Kopf.

       IT IS ORDERED that:

       (1)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 171) has been set before the undersigned United States district judge at
11:30 a.m., Friday, June 24, 2005, in the Special Proceedings Courtroom, Roman L. Hruska
United States Courthouse, Omaha, Nebraska.

        (2)    At the request of the defendant through his counsel, the defendant would like
to participate in the hearing by telephone.

       (3)    The Marshal is directed not to return the defendant to the district.

       (4)    The defendant is held to have waived his right to be present.

        (5)    Counsel for the defendant, if previously appointed pursuant to the Criminal
Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b) motion.
If retained, counsel for the defendant remains as counsel for the defendant until the Rule
35(b) motion is resolved or until given leave to withdraw.

       (6)    The Federal Public Defender shall provide CJA counsel with a new voucher.
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       (7)    The Clerk of the Court shall provide a copy of this order to counsel for the
government and counsel for the defendant. The undersigned’s judicial assistant will provide
a copy to the Federal Public Defender.

       DATED this 4th day of May, 2005.

                                                  BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge




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